                                   Case 18-30639-JCO                      Doc 1     Filed 07/06/18            Page 1 of 18

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF FLORIDA

Case number (if known)                                                        Chapter you are filing under:
                                                                                  Chapter 7

                                                                                  Chapter 11
                                                                                  Chapter 12
                                                                                  Chapter 13                                       Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Kenneth
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        R.
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Steber
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-0282
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
                                 Case 18-30639-JCO                    Doc 1         Filed 07/06/18        Page 2 of 18
Debtor 1   Kenneth R. Steber                                                                          Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 115 Sabine Dr.
                                 Pensacola Beach, FL 32561
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Escambia
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.

                                 P. O. Box 30237
                                 Pensacola, FL 32503
                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
                                 Case 18-30639-JCO                      Doc 1       Filed 07/06/18            Page 3 of 18
Debtor 1    Kenneth R. Steber                                                                             Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7

                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor      Gulf Medical Services, Inc.                                  Relationship to you        Affiliate
                                              District    Nothern Florida               When     1/05/18               Case number, if known      18-30012-JCO
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                                   Case 18-30639-JCO                  Doc 1         Filed 07/06/18              Page 4 of 18
Debtor 1    Kenneth R. Steber                                                                              Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11                   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).               No.
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                                     Case 18-30639-JCO                   Doc 1         Filed 07/06/18       Page 5 of 18
Debtor 1    Kenneth R. Steber                                                                          Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
                                 Case 18-30639-JCO                    Doc 1        Filed 07/06/18             Page 6 of 18
Debtor 1    Kenneth R. Steber                                                                             Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Kenneth R. Steber
                                 Kenneth R. Steber                                                 Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     July 6, 2018                                      Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
                                Case 18-30639-JCO                        Doc 1    Filed 07/06/18              Page 7 of 18
Debtor 1   Kenneth R. Steber                                                                              Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ John E. Venn, Jr.                                              Date         July 6, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                John E. Venn, Jr. 184992
                                Printed name

                                John E. Venn, Jr., P.A.
                                Firm name

                                220 W. Garden St.
                                Suite 603
                                Pensacola, FL 32502
                                Number, Street, City, State & ZIP Code

                                Contact phone     (850) 438-0005                             Email address         johnevennjrpa@aol.com
                                184992 FL
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
              Case 18-30639-JCO        Doc 1     Filed 07/06/18    Page 8 of 18




                                               Certificate Number: 14751-FLN-CC-031276946


                                                              14751-FLN-CC-031276946




                       CERTIFICATE OF COUNSELING

I CERTIFY that on July 5, 2018, at 9:37 o'clock AM PDT, Kenneth R Steber
received from $0$ BK Class Inc., an agency approved pursuant to 11 U.S.C. §
111 to provide credit counseling in the Northern District of Florida, an individual
[or group] briefing that complied with the provisions of 11 U.S.C. §§ 109(h) and
111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   July 5, 2018                           By:      /s/AMEY AIONO


                                               Name: AMEY AIONO


                                               Title:   Certified Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
                                           Case 18-30639-JCO                    Doc 1        Filed 07/06/18                Page 9 of 18


 Fill in this information to identify your case:

 Debtor 1                     Kenneth R. Steber
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                     Check if this is an
                                                                                                                                                amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                               Unsecured claim
 1                                                                   What is the nature of the claim?              Credit card                 $ $17,448.83
              BankAmericard
              P. O. Box 982234                                       As of the date you file, the claim is: Check all that apply
              El Paso, TX 79998                                              Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


 2                                                                   What is the nature of the claim?              Credit card                 $ $19,910.48
              Chase
              P. O. Box 15123                                        As of the date you file, the claim is: Check all that apply
              Wilmington, DE 19850                                           Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $

B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          Page 1

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                                    Case 18-30639-JCO                          Doc 1        Filed 07/06/18                Page 10 of 18


 Debtor 1          Kenneth R. Steber                                                                Case number (if known)




 3                                                                   What is the nature of the claim?              Income taxes                $ $45,184.61
            Internal Revenue Service
            P. O. Box 7346                                           As of the date you file, the claim is: Check all that apply
            Philadelphia, PA 19101                                           Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?              FICA taxes owed by     $ $95,915.25
                                                                                                                   Gulf Medical Services,
                                                                                                                   Inc.
            Internal Revenue Service
            P. O. Box 7346                                           As of the date you file, the claim is: Check all that apply
            Philadelphia, PA 19101                                           Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?              Final Judgment              $ $143,971.12
            Queen Funding
            2221 NE 164th St.                                        As of the date you file, the claim is: Check all that apply
            Suite 1144                                                       Contingent
            North Miami Beach, FL 33160                                      Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 6                                                                   What is the nature of the claim?              Personal guaranty of        $ $122,132.56
                                                                                                                   debt of Gulf Medical
                                                                                                                   Services, Inc. -
                                                                                                                   Secured by various
                                                                                                                   medical equipment
            Regions Bank
            P. O. Box 830734                                         As of the date you file, the claim is: Check all that apply
            Birmingham, AL 35283                                             Contingent


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 2

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                                    Case 18-30639-JCO                          Doc 1        Filed 07/06/18                Page 11 of 18


 Debtor 1          Kenneth R. Steber                                                                Case number (if known)

                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?              Personal guaranty of        $ $77,673.25
                                                                                                                   debt of Gulf Medical
                                                                                                                   Services, Inc. -
                                                                                                                   Secured by various
                                                                                                                   medical equipment
            Regions Bank
            P. O. Box 830734                                         As of the date you file, the claim is: Check all that apply
            Birmingham, AL 35283                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?              Personal guaranty of        $ $62,497.75
                                                                                                                   debt of Gulf Medical
                                                                                                                   Services, Inc. -
                                                                                                                   Secured by various
                                                                                                                   medical equipment
            Regions Bank
            P. O. Box 830734                                         As of the date you file, the claim is: Check all that apply
            Birmingham, AL 35283                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?              Personal guaranty of        $ $527,617.05
                                                                                                                   debt of Gulf Medical
                                                                                                                   Services, Inc. -
                                                                                                                   Secured by various
                                                                                                                   medical equipment
            Regions Bank
            P. O. Box 830734


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 3

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                                    Case 18-30639-JCO                          Doc 1        Filed 07/06/18                Page 12 of 18


 Debtor 1          Kenneth R. Steber                                                                Case number (if known)

            Birmingham, AL 35283                                     As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 10                                                                  What is the nature of the claim?              Personal guaranty of        $ $291,000.37
                                                                                                                   debt of Gulf Medical
                                                                                                                   Services, Inc. -
                                                                                                                   Secured by 3103 N.
                                                                                                                   12th Ave., Pensacola,
                                                                                                                   FL
            Regions Bank
            P. O. Box 830734                                         As of the date you file, the claim is: Check all that apply
            Birmingham, AL 35283                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 11                                                                  What is the nature of the claim?              Personal guaranty of        $ $207,234.33
                                                                                                                   debt of Gulf Medical
                                                                                                                   Services, Inc.
            Regions Bank
            P. O. Box 830734                                         As of the date you file, the claim is: Check all that apply
            Birmingham, AL 35283                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 12                                                                  What is the nature of the claim?              Personal guaranty of        $ $61,301.26
                                                                                                                   debt of Gulf Medical
                                                                                                                   Services, Inc. -
                                                                                                                   Secured by various
                                                                                                                   medical equipment
            Regions Bank


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 4

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                                    Case 18-30639-JCO                          Doc 1        Filed 07/06/18                Page 13 of 18


 Debtor 1          Kenneth R. Steber                                                                Case number (if known)

            P. O. Box 830734                                         As of the date you file, the claim is: Check all that apply
            Birmingham, AL 35283                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 13                                                                  What is the nature of the claim?              Personal guaranty of        $ $55,849.52
                                                                                                                   debt of Gulf Medical
                                                                                                                   Services, Inc. -
                                                                                                                   Secured by various
                                                                                                                   medical equipment
            Regions Bank
            P. O. Box 830734                                         As of the date you file, the claim is: Check all that apply
            Birmingham, AL 35283                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 14                                                                  What is the nature of the claim?              Personal guaranty of        $ $21,511.45
                                                                                                                   debt of Gulf Medical
                                                                                                                   Services, Inc. -
                                                                                                                   Secured by various
                                                                                                                   medical equipment
            Regions Bank
            P. O. Box 830734                                         As of the date you file, the claim is: Check all that apply
            Birmingham, AL 35283                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 15                                                                  What is the nature of the claim?              Personal guaranty of        $ $16,940.46
                                                                                                                   debt of Gulf Medical
                                                                                                                   Services, Inc. -
                                                                                                                   Secured by a 2015
                                                                                                                   Nissan
            Regions Bank

B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 5

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                                    Case 18-30639-JCO                          Doc 1        Filed 07/06/18                Page 14 of 18


 Debtor 1          Kenneth R. Steber                                                                Case number (if known)

            P. O. Box 830734                                         As of the date you file, the claim is: Check all that apply
            Birmingham, AL 35283                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 16                                                                  What is the nature of the claim?              Personal guaranty of        $ $15,663.64
                                                                                                                   debt of Gulf Medical
                                                                                                                   Services, Inc. -
                                                                                                                   Secured by a 2014
                                                                                                                   Nissan
            Regions Bank
            P. O. Box 830734                                         As of the date you file, the claim is: Check all that apply
            Birmingham, AL 35283                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 17                                                                  What is the nature of the claim?              Personal loan               $ $175,000.00
            Robert Rinke
            21 La Caribe                                             As of the date you file, the claim is: Check all that apply
            Pensacola Beach, FL 32561                                        Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 18                                                                  What is the nature of the claim?              Debtor co-signed            $ $25,477.64
                                                                                                                   student loan for son
            Sallie Mae Servicing
            P. O. Box 4600                                           As of the date you file, the claim is: Check all that apply
            Wilkes Barre, PA 18773                                           Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 6

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                                    Case 18-30639-JCO                          Doc 1        Filed 07/06/18                Page 15 of 18


 Debtor 1          Kenneth R. Steber                                                                Case number (if known)

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 19                                                                  What is the nature of the claim?              Debtor co-signed            $ $24,672.14
                                                                                                                   student loan for son
            Sallie Mae Servicing
            P. O. Box 4600                                           As of the date you file, the claim is: Check all that apply
            Wilkes Barre, PA 18773                                           Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 20                                                                  What is the nature of the claim?              Stock purchase              $ $2,336,290.84
                                                                                                                   agreement
            Stephen Jernigan
            5953 Moors Oak Dr.                                       As of the date you file, the claim is: Check all that apply
            Milton, FL 32583                                                 Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Kenneth R. Steber                                                            X
       Kenneth R. Steber                                                                    Signature of Debtor 2
       Signature of Debtor 1


       Date      July 6, 2018                                                               Date




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 7

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                                    Case 18-30639-JCO                    Doc 1     Filed 07/06/18   Page 16 of 18




                                                               United States Bankruptcy Court
                                                                     Northern District of Florida
 In re      Kenneth R. Steber                                                                         Case No.
                                                                                  Debtor(s)           Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: July 6, 2018                                                    /s/ Kenneth R. Steber
                                                                       Kenneth R. Steber
                                                                       Signature of Debtor




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                                                                 Steber, Kenneth -
Kenneth R. Steber Case 18-30639-JCO
                               Chase Doc 1 Filed 07/06/18   Page Lisa  Steber
                                                                 17 of 18
P. O. Box 30237                P. O. Box 15123                   115 Sabine Dr.
Pensacola, FL 32503            Wilmington, DE 19850              Pensacola Beach, FL 3256

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John E. Venn, Jr.              Chase                            Main Street
John E. Venn, Jr., P.A.        P. O. Box 182055                 3 HuttonCentre Dr.
220 W. Garden St.              Columbus, OH 43218               Suite 400
Suite 603                                                       Santa Ana, CA 92707
Pensacola, FL 32502

Office of U.S. Trustee         Dillards/Wells Fargo Bank        Navitas
110 E. Park Ave.               P. O. Box 71118                  P. O. Box 9500
Suite 128                      Charlotte, NC 28272              Wilkes Barre, PA 18773
Tallahassee, FL 32301


AmTrust Bank                   Financial Pacific                New Era
First Bankcard                 P. O. Box 749642                 North Orange St.
P. O. Box 2557                 Los Angeles, CA 90074            Suite 767
Omaha, NE 68103                                                 Wilmington, DE 19801


Amur                           Gulf Medical Services, Inc.      Pawnee Leasing Corporati
P. O. Box 2555                 3103 N. 12th Ave.                3801 Automation Way
Grand Island, NE 68801         Pensacola, FL 32503              Suite 209
                                                                Fort Collins, CO 80525


Andrea C. Lyons                Hitachi-Tempus                   Philips Medical Capital
30 S. Spring St.               10170W Tropicana Ave.            1111 Old Eagle School Rd.
Pensacola, FL 32502            Las Vegas, NV 89147              Wayne, PA 19087



BankAmericard                  Internal Revenue Service         Providence Capital Fundi
P. O. Box 982234               P. O. Box 7346                   3020 Saturn St.
El Paso, TX 79998              Philadelphia, PA 19101           Brea, CA 92821



Best Buy Credit Services       Israel Weinstein                 Queen Funding
P. O. Box 790441               68-15 Main St., 1st Floor        2221 NE 164th St.
Saint Louis, MO 63179          Flushing, NY 11367               Suite 1144
                                                                North Miami Beach, FL 33


Capital One                    Key Equipment Finance            Regions Bank
P. O. Box 60599                1000 S. McCasliln Blvd.          P. O. Box 830734
City of Industry, CA 91716     Superior, CO 80027               Birmingham, AL 35283



Charles Steber                 Leaf Capital Funding, LLC        Richard Roberts
115 Sabine Dr.                 P. O. Box 742647                 1951 Iris Lane
Pensacola Beach, FL 32561      Cincinnati, OH 45274             Navarre, FL 32566
                              Steber, Kenneth -
Robert Rinke                  UmpquaDoc
                 Case 18-30639-JCO    Bank/Fin
                                        1 Filed Pac
                                                07/06/18   Page 18 of 18
21 La Caribe                  3455 A 344th Way
Pensacola Beach, FL 32561     Suite 300
                              Auburn, WA 98001


Robert Solove                  VGM Financial Services
12002SW 128th Ct.              1111 West San Marnan Dr.
Suite 201                      Suite A2 West
Miami, FL 33186                Waterloo, IA 50701


Royal Bank AM                  Yellowstone Capital, LLC
550 Township Line Rd.          One Evertrust Plaza
Blue Bell, PA 19422            Suite 1401
                               Jersey City, NJ 07302


Sallie Mae Servicing
P. O. Box 4600
Wilkes Barre, PA 18773



Sears Mastercard
P. O. Box 6282
Sioux Falls, SD 57117



Stephen Jernigan
5953 Moors Oak Dr.
Milton, FL 32583



Stephen Jernigan
8532 Moores Oak Dr.
Milton, FL 32583



SunTrust Bank
P. O. Box 9079
Baltimore, MD 21279



Targeted Leasing
P. O. Box 3892
Seattle, WA 98124



TD Auto Finance
P. O. Box 16039
Lewiston, ME 04243
